                            In the Matter Of:

            KULAKOWSKI vs WESTROCK SERVICES




                          JERRY HARVILLE

                            November 16, 2017




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KULAKOWSKI vs WESTROCK SERVICES




 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · · · · DEPOSITION OF

 · · · · · · · · JERRY WAYNE HARVILLE

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · November 16, 2017

 · · · · · · · Commencing at 12:25 p.m.




 __________________________________________________



 Reported by:· Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:· 6/30/2018



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·1·   APPEARANCES:                                                    ·1· · · · · · · ·The deposition of JERRY WAYNE HARVILLE
·2·   For the Plaintiff:                                              ·2· was taken on behalf of the Plaintiff on November 16,
·3·   · · · · ·HEATHER MOORE COLLINS
· ·   · · · · ·Collins & Hunter                                       ·3· 2017, in the offices of Bone, McAllester & Norton,
·4·   · · · · ·7000 Executive Center Drive                            ·4· 131 Saundersville Road, Suite 130, Hendersonville,
· ·   · · · · ·Building 2, Suite 320
                                                                      ·5· Tennessee, for all purposes under the Federal Rules
·5·   · · · · ·Brentwood, Tennessee· 37027
· ·   · · · · ·(615) 724-1996                                         ·6· of Civil Procedure.
·6·   · · · · ·heather@collinshunter.com                              ·7· · · · · · · ·The formalities as to notice, caption,
·7
                                                                      ·8· certificate, et cetera, are waived.· All objections,
· ·   For the Defendant:
·8                                                                    ·9· except as to the form of the questions, are reserved
· ·   ·   ·   ·   ·   ·MARY DOHNER SMITH                              10· to the hearing.
·9·   ·   ·   ·   ·   ·NELSON SUAREZ
                                                                      11· · · · · · · ·It is agreed that Jerri L. Porter,
· ·   ·   ·   ·   ·   ·Constangy, Brooks, Smith & Prophete
10·   ·   ·   ·   ·   ·1010 SunTrust Plaza                            12· being a Notary Public and Court Reporter for the
· ·   ·   ·   ·   ·   ·401 Commerce Street                            13· State of Tennessee, may swear the witness, and that
11·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219
                                                                      14· the reading and signing of the completed deposition
· ·   ·   ·   ·   ·   ·(615) 320-5200
12·   ·   ·   ·   ·   ·mdohner@constangy.com                          15· by the witness are reserved.
· ·   ·   ·   ·   ·   ·nsuarez@constangy.com                          16
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14                                                                    17
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18                                                                    20
19                                                                    21· · · · · · · · · · · · · * * *
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25

                                                             Page 3                                                             Page 5
·1· · · · · · · · · · · · I N D E X                                   ·1·   · · · · · · · · JERRY WAYNE HARVILLE
·2· · · · · · · · · INDEX OF EXAMINATIONS
                                                                      ·2·   was called as a witness, and after having been first
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page
                                                                      ·3·   duly sworn, testified as follows:
·4· Examination By Ms. Collins ........................5
                                                                      ·4·   · · · · · · · · E X A M I N A T I O N
·5· Examination By Ms. Dohner Smith ..................33
·6                                                                    ·5·   BY MS. COLLINS:
·7                                                                    ·6·   Q· · · ·Good afternoon, I guess it is.· Could you
·8· · · · · · · ·PREVIOUSLY MARKED EXHIBITS                           ·7·   state your complete name for the record.
· · · · · · · · · · PRESENTED TO WITNESS                              ·8·   A· · · ·Jerry Wayne Harville.
·9                                                                    ·9·   Q· · · ·Could you spell your last name?
10· Exhibit· · · · Description· · · · · · · · · · · Page              10·   A· · · ·H-a-r-v-i-l-l-e.
11
                                                                      11·   Q· · · ·Mr. Harville, what is your address?
12· No. 27· ·8/12/16, 8/15/16, 8/17/16, 8/18/16 ......27
                                                                      12·   A· · · ·450 Fort Blount Road.
· · · · · · ·Henley notes e-mails
13· · · · · ·Subject: Exit Interview with Johanna
                                                                      13·   Q· · · ·What city is that?
· · · · · · ·Bates WestRock 000208-0214                               14·   A· · · ·Hartsville, Tennessee.
14                                                                    15·   Q· · · ·Zip code?
15                                                                    16·   A· · · ·37074.
16                                                                    17·   Q· · · ·Where do you currently work?
17                                                                    18·   A· · · ·WestRock.
18
                                                                      19·   Q· · · ·How long have you worked out there?
19
                                                                      20·   A· · · ·Almost 28 years.
20
21
                                                                      21·   Q· · · ·Which facility do you work at?
22                                                                    22·   A· · · ·The main plant on Hartsville Pike.
23                                                                    23·   Q· · · ·Is that the Gallatin plant?
24                                                                    24·   A· · · ·Uh-huh.
25                                                                    25·   Q· · · ·And that's not the fulfillment center,


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·1·   right?                                                  ·1·   Q· · · ·But you worked with Mr. Whited at times over
·2·   A· · · ·No, ma'am.                                      ·2·   at the fulfillment center, right?
·3·   Q· · · ·Have you worked at the fulfillment center?      ·3·   A· · · ·Yes.
·4·   A· · · ·Yes, ma'am.                                     ·4·   Q· · · ·And you worked with Mr. Whited at the
·5·   Q· · · ·How long have you been at the main plant?       ·5·   fulfillment center at times in 2016 and 2015, right?
·6·   A· · · ·About seven years now.                          ·6·   A· · · ·Uh-huh.
·7·   Q· · · ·Would you go over to the fulfillment center?    ·7·   Q· · · ·When you were shipping manager, did you work
·8·   A· · · ·Yes.                                            ·8·   around Michael Kulakowski?
·9·   Q· · · ·Okay.· How often do you go over to the          ·9·   A· · · ·Yes.
10·   fulfillment center?                                     10·   Q· · · ·Do you work around him anymore?
11·   A· · · ·Well, when I was the shipping manager, I        11·   A· · · ·No.
12·   would go about twice a week.                            12·   Q· · · ·Who is your current supervisor that you
13·   Q· · · ·All right.· What is your current job title?     13·   report to?
14·   A· · · ·Forklift operator.                              14·   A· · · ·Larry Eden.
15·   Q· · · ·How long have you been in that job?             15·   Q· · · ·Have you ever seen Mr. Whited hit another
16·   A· · · ·About nine or ten months.· Ever since they      16·   employee?
17·   got rid of Tommy.                                       17·   A· · · ·Yes, ma'am.
18·   Q· · · ·Did you get moved over there after he was       18·   Q· · · ·Who?
19·   terminated?                                             19·   A· · · ·Michael Kulakowski.
20·   A· · · ·Over?                                           20·   Q· · · ·Anyone else?
21·   Q· · · ·Over to the main plant.                         21·   A· · · ·Mike Eden.
22·   A· · · ·No.· I was already at the main plant.           22·   Q· · · ·Who else?
23·   Q· · · ·Okay.· I guess I'm confused.· Are you at the    23·   A· · · ·Me.
24·   fulfillment center now?                                 24·   Q· · · ·Who else?
25·   A· · · ·No.                                             25·   A· · · ·That's all I can remember right now.
                                                     Page 7                                                        Page 9
·1·   Q· · · ·Okay.                                           ·1·   Q· · · ·Okay.· Have you seen Mr. Whited kick another
·2·   A· · · ·I was the shipping manager when he got          ·2·   employee?
·3·   terminated.                                             ·3·   A· · · ·Yes, ma'am.
·4·   Q· · · ·Okay.                                           ·4·   Q· · · ·Who?
·5·   A· · · ·And then when the new general manager come      ·5·   A· · · ·Michael Kulakowski, Mike Eden.· That's it.
·6·   in, they done some changing, so...                      ·6·   Q· · · ·Is Mike Eden related to Larry Eden?
·7·   Q· · · ·Okay.· So you were the shipping manager at      ·7·   A· · · ·Yes, ma'am.
·8·   the main plant?                                         ·8·   Q· · · ·What is their relation?
·9·   A· · · ·Uh-huh.                                         ·9·   A· · · ·First cousins.
10·   Q· · · ·And when you were shipping manager, that's      10·   Q· · · ·Does he still work out there, Mike Eden?
11·   when you would come over to the fulfillment center?     11·   A· · · ·Yes, ma'am.
12·   A· · · ·Yes, ma'am.                                     12·   Q· · · ·What's his job?
13·   Q· · · ·Is your current position a demotion?            13·   A· · · ·Forklift operator.
14·   A· · · ·I guess you could call it that, yes.            14·   Q· · · ·Is he at the fulfillment center or the main
15·   Q· · · ·Is it less pay?                                 15·   plant?
16·   A· · · ·No.                                             16·   A· · · ·Main plant.
17·   Q· · · ·Who was that, the new general manager that      17·   Q· · · ·Now, tell me about the times that you've
18·   put you in that position?                               18·   seen Mr. Whited hit Michael Kulakowski.
19·   A· · · ·Al Holbrook (phonetic), or something like       19·   A· · · ·I mean, I don't remember the dates or any
20·   that.· I don't really know his last name.· Just know    20·   times or anything like that.· They would be standing
21·   his name is Al.                                         21·   there like having a conversation, and he would just
22·   Q· · · ·And the current GM is Keith Hall, right?        22·   kick him in the nuts.
23·   A· · · ·No.· He's plant supervisor.                     23·   Q· · · ·Have you seen -- did you see Mr. Whited do
24·   Q· · · ·Okay.                                           24·   that on more than one occasion to Mr. Kulakowski?
25·   A· · · ·Al is the current GM.                           25·   A· · · ·No.


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·1·   Q· · · ·What about hitting him in the groin area?       ·1·   Q· · · ·Did it seem like Mr. Kulakowski was scared
·2·   A· · · ·Yes.                                            ·2·   of Mr. Whited?
·3·   Q· · · ·Yes?· Did you see that on more than one         ·3·   A· · · ·Yes.· I don't know if you call it scared or
·4·   occasion?                                               ·4·   intimidation.
·5·   A· · · ·Yes, ma'am.                                     ·5·   Q· · · ·And you also said that you saw Mr. Whited
·6·   Q· · · ·What was Mr. Kulakowski's reaction?             ·6·   kick Mr. Eden.· Was that also in the groin area?
·7·   A· · · ·He'd just cover.· I mean, you know, the         ·7·   A· · · ·Yes, ma'am.
·8·   natural.                                                ·8·   Q· · · ·Was that just one time or more than once?
·9·   Q· · · ·Did he seem like he was in pain?                ·9·   A· · · ·Just once.
10·   A· · · ·Yes, ma'am.                                     10·   Q· · · ·What did Mr. Eden do when that happened?
11·   Q· · · ·Did he seem like he was in pain when            11·   A· · · ·He hit him back.· Not in the groin, but he
12·   Mr. Whited -- when you saw Mr. Whited kick him in       12·   punched him and told him don't ever do it again.
13·   the groin area?                                         13·   Q· · · ·And you said that he had hit you before,
14·   A· · · ·Yes, ma'am.                                     14·   that Mr. Whited had hit you before, right?
15·   Q· · · ·Did he say anything to Mr. Whited -- did        15·   A· · · ·Yes, ma'am.
16·   Mr. Kulakowski say anything to Mr. Whited when those    16·   Q· · · ·Where did he hit you?
17·   things would happen?                                    17·   A· · · ·In the groin or on the shoulder.
18·   A· · · ·He would say stuff like dammit, Tommy, don't    18·   Q· · · ·What did you do when he would do that?
19·   do that, or something like that.                        19·   A· · · ·Not all the time, every time, but most of
20·   Q· · · ·Okay.· Would Mr. Whited quit doing it?          20·   the time I would punch him back.
21·   A· · · ·Uh-huh.                                         21·   Q· · · ·Did you tell him not to do it?
22·   Q· · · ·But he would come back and do it again?         22·   A· · · ·Yes, ma'am.
23·   A· · · ·Maybe, you know, two or three days later or     23·   Q· · · ·But he would do it again?
24·   week later or two weeks, whatever.                      24·   A· · · ·Maybe later on, you know.· I don't know if
25·   Q· · · ·Did you see Mr. Whited hit or kick Michael      25·   you call it horseplay or what you call it, really.
                                                    Page 11                                                       Page 13
·1·   Kulakowski anywhere besides the groin area?             ·1·   Q· · · ·But he did it more than once to you?
·2·   A· · · ·Not kick, no.                                   ·2·   A· · · ·Yes.
·3·   Q· · · ·What about hit?                                 ·3·   Q· · · ·And you would tell him to stop?
·4·   A· · · ·Yeah.                                           ·4·   A· · · ·Yes, ma'am.
·5·   Q· · · ·Where else did you see him hit him?             ·5·   Q· · · ·Did you ever see Mr. Whited hit
·6·   A· · · ·I mean, I've seen him -- I guess you could      ·6·   Mr. Kulakowski with a broom or another object?
·7·   count it, but he'd knock his cap off or something       ·7·   A· · · ·No.
·8·   like that, or punch him on the arm or something like    ·8·   Q· · · ·Did you ever hear Mr. Whited threaten
·9·   that.                                                   ·9·   Mr. Kulakowski with his job?
10·   Q· · · ·And you also mentioned that you had seen        10·   A· · · ·Yes.
11·   Mr. Whited do that to Mike Eden?                        11·   Q· · · ·Tell me about that.
12·   A· · · ·Uh-huh.                                         12·   A· · · ·Well, I mean, if you don't straighten up,
13·   Q· · · ·Did you see him hit Mike Eden on more than      13·   I'll fire your ass, just stuff like that.
14·   one occasion?                                           14·   Q· · · ·When was that?
15·   A· · · ·No.· Just that one time.                        15·   A· · · ·I don't recall.
16·   Q· · · ·I'm sorry?                                      16·   Q· · · ·Like would it be within the year before he
17·   A· · · ·Just that one time.                             17·   was fired?
18·   Q· · · ·Did he hit him in the groin area as well?       18·   A· · · ·Yeah, probably.
19·   A· · · ·Yes.                                            19·   Q· · · ·Was it something you heard on more than one
20·   Q· · · ·What did Mike Eden do?                          20·   occasion?
21·   A· · · ·Hit him back.· Told him don't ever do it        21·   A· · · ·Yes.
22·   again.                                                  22·   Q· · · ·Had you heard Mr. Whited threaten other
23·   Q· · · ·Did you ever hear Mr. Kulakowski -- or did      23·   employees that he would fire them?
24·   you ever see Mr. Kulakowski hit Mr. Whited back?        24·   A· · · ·I know I have, but I can't recall who it was
25·   A· · · ·No.                                             25·   or anything.


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·1·   Q· · · ·Okay.· Do you recall Mr. Whited telling any     ·1·   company hotline?
·2·   employees that if they made a complaint about him,      ·2·   A· · · ·No, ma'am.
·3·   he'd find out about it and fire them, anything like     ·3·   Q· · · ·Did you ever see any posters in the
·4·   that?                                                   ·4·   workplace down at the fulfillment center about the
·5·   A· · · ·No.                                             ·5·   company hotline?
·6·   Q· · · ·Who was the -- before Mr. Whited was            ·6·   A· · · ·I couldn't tell you, because I don't even
·7·   terminated, who was the HR person out at the            ·7·   know where the boards are at, I mean.· They've
·8·   Gallatin plants?                                        ·8·   changed a bunch of stuff around so much.
·9·   A· · · ·As far as we knew, Helen Kendall.               ·9·   Q· · · ·I understand.· You had some dealings with
10·   Q· · · ·When you worked out at the Gallatin plants,     10·   Terri Henley, right?
11·   before Mr. Whited was investigated and eventually       11·   A· · · ·Terri Henley, yes.
12·   terminated, had you received any sort of training on    12·   Q· · · ·Was the first time you dealt with her in
13·   sexual harassment?                                      13·   connection with the Whited investigation?
14·   A· · · ·Yes.                                            14·   A· · · ·No.· I think the first time I actually
15·   Q· · · ·Okay.· Tell me about that.                      15·   talked to her was when I fell on my shoulder.
16·   A· · · ·We would just have a company meeting and put    16·   Q· · · ·Okay.· What was your understanding of her --
17·   a slide show up and they would read it and talk         17·   what her job was when you hurt your shoulder?
18·   about it and give out the numbers and stuff.            18·   A· · · ·I thought she was safety.· I didn't know.
19·   Q· · · ·Who would put the slide show up?                19·   Q· · · ·Okay.· Were you just told you had to deal
20·   A· · · ·Most of the time it would either be our         20·   with your shoulder injury through her?
21·   safety lady or somebody like that.                      21·   A· · · ·No.· I mean, when it happened, I mean, they
22·   Q· · · ·Who was the safety lady?                        22·   sent me to the doctor and stuff and everything.· She
23·   A· · · ·It was Lana Potts, but she's not there no       23·   came up and was investigating how it happened and
24·   more.                                                   24·   stuff like that.
25·   Q· · · ·Do you recall anybody else besides Lana         25·   Q· · · ·When was that?
                                                    Page 15                                                       Page 17
·1·   doing it?                                               ·1·   A· · · ·Two years ago, January.
·2·   A· · · ·No.· She was pretty much the one that did it    ·2·   Q· · · ·How often do you receive the company
·3·   all.                                                    ·3·   policies or handbook?
·4·   Q· · · ·Was that just at the main plant that you        ·4·   A· · · ·Oh, probably once a year.
·5·   recall that happening or at the fulfillment center?     ·5·   Q· · · ·When you receive them, do you sign a piece
·6·   A· · · ·Now, I know we did it at the main plant. I      ·6·   of paper saying you received them?
·7·   don't know if they did it at the fulfillment.           ·7·   A· · · ·Yes, ma'am.
·8·   Q· · · ·Okay.· When Tommy Whited still worked there,    ·8·   Q· · · ·Are you required --
·9·   did he spend most of his time at the fulfillment        ·9·   A· · · ·That we read them and stuff.
10·   center?                                                 10·   Q· · · ·Right.· Are you required to read them at
11·   A· · · ·Yes, ma'am.                                     11·   that time?
12·   Q· · · ·And that was when you were just going down      12·   A· · · ·Yes.
13·   there occasionally, right?                              13·   Q· · · ·How long do you have to read them?
14·   A· · · ·Uh-huh.                                         14·   A· · · ·Most of the time they give you a week.
15·   Q· · · ·Before the things happened with Tommy           15·   Q· · · ·Okay.· And was that how it was at the main
16·   Whited, before that investigation, did you know         16·   plant?
17·   there was a company hotline?                            17·   A· · · ·Uh-huh.
18·   A· · · ·Yeah, I knew there was one.                     18·   Q· · · ·Had you ever had to deal with that at the
19·   Q· · · ·What was your understanding what that was       19·   fulfillment center?
20·   for?                                                    20·   A· · · ·No, ma'am.
21·   A· · · ·For any kind of misconduct or anything going    21·   Q· · · ·Now, when you said that when Tommy Whited
22·   on in the plant.                                        22·   would hit you you would hit him back, were you ever
23·   Q· · · ·Did you ever use the company hotline?           23·   concerned that you would lose your job because you
24·   A· · · ·No, ma'am.                                      24·   hit him back?
25·   Q· · · ·Did you have any concerns about using the       25·   A· · · ·No.


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·1·   Q· · · ·Had you ever seen Tommy Whited hit or grab      ·1·   Just kind of blew it off.
·2·   or kick a woman in the groin area?                      ·2·   Q· · · ·Right.· Now, other than hitting and kicking
·3·   A· · · ·No.                                             ·3·   you in the groin area, did he ever grab you?
·4·   Q· · · ·Had Michael Kulakowski ever told you that he    ·4·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·5·   complained to Larry Eden about the way Mr. Whited       ·5·   BY MS. COLLINS:
·6·   was treating him?                                       ·6·   Q· · · ·Did Mr. Whited ever grab you in your
·7·   A· · · ·No.                                             ·7·   testicles or the groin area?
·8·   Q· · · ·Had you ever heard him complain to Larry        ·8·   A· · · ·No.
·9·   Eden about the way Mr. Whited was treating him?         ·9·   Q· · · ·And by hitting, how would he hit -- how did
10·   A· · · ·No.                                             10·   he hit you?· How did Mr. Whited hit you?
11·   Q· · · ·Has Mr. Whited ever shown his penis or          11·   A· · · ·Like backhand.
12·   private parts to you?                                   12·   Q· · · ·Backhand you in your penis?
13·   A· · · ·No.                                             13·   A· · · ·He'd be standing beside of me and just
14·   Q· · · ·Okay.· Has he ever requested oral sex or        14·   (indicating), you know.
15·   anything in that manner from you?                       15·   Q· · · ·Still painful --
16·   A· · · ·No.                                             16·   A· · · ·Yeah.
17·   Q· · · ·Have you ever heard of him doing either of      17·   Q· · · ·-- as I understand it to men.
18·   those things to any other male employees?               18·   A· · · ·Yes.
19·   A· · · ·I've not seen him actually pull anything        19·   Q· · · ·Other than the time that you spoke with
20·   out, but I've seen him grab his zipper and state        20·   Ms. Henley for your workers' comp injury or your
21·   stuff like that.                                        21·   shoulder injury, had you spoken with her any other
22·   Q· · · ·To who?                                         22·   time besides the Whited investigation?
23·   A· · · ·Michael Kulakowski.                             23·   A· · · ·I mean, the only time I spoke to her was
24·   Q· · · ·Like what did he state?· I need you to say      24·   about my arm and then the Whited investigation.
25·   what he said.· I know it could be crude.                25·   Q· · · ·Okay.· Do you think Tommy Whited was capable
                                                    Page 19                                                       Page 21
·1·   A· · · ·He said, I'll just -- he'd pull it and out      ·1·   of harming someone?
·2·   and say suck my privates.                               ·2·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·3·   Q· · · ·Would he say suck my dick?                      ·3·   BY MS. COLLINS:
·4·   A· · · ·Yes, ma'am.                                     ·4·   Q· · · ·Based on your interactions with him?
·5·   Q· · · ·To Michael Kulakowski?                          ·5·   A· · · ·I really don't know.
·6·   A· · · ·Yes.                                            ·6·   Q· · · ·But Michael Kulakowski expressed to you that
·7·   Q· · · ·And you witnessed that?                         ·7·   he was afraid of him?
·8·   A· · · ·Yes.                                            ·8·   A· · · ·Yes.
·9·   Q· · · ·Would he actually pull it out or would he       ·9·   Q· · · ·Did he say why?
10·   just --                                                 10·   A· · · ·It was just intimidation, the way he
11·   · · · · · · ·(Overlapping speech.)                      11·   controlled hisself, I guess.
12·   A· · · ·I've never seen him pull it out.                12·   Q· · · ·Were you afraid to report the way Mr. Whited
13·   Q· · · ·But you did see him shake his zipper at him?    13·   was treating you?
14·   A· · · ·Yes, ma'am.                                     14·   A· · · ·Yes.
15·   Q· · · ·And tell him to suck his dick?                  15·   Q· · · ·Why?
16·   A· · · ·Yes, ma'am.                                     16·   A· · · ·I had to make a living.
17·   Q· · · ·What did Mr. Kulakowski do?                     17·   Q· · · ·Did anyone else express having the same
18·   A· · · ·I really can't recall what he said, to be       18·   fears or concerns to you?
19·   honest with you.                                        19·   A· · · ·I mean, people had talked about it, but -- I
20·   Q· · · ·Right.· But Mr. Whited never did that to        20·   mean, I don't remember who, but I've heard people
21·   you?                                                    21·   talk about it.· Didn't do no good.
22·   A· · · ·No, ma'am.                                      22·   Q· · · ·Wouldn't do any good to complain about it?
23·   Q· · · ·What was your reaction when you saw him do      23·   A· · · ·Yes, ma'am.
24·   that to Mr. Kulakowski?                                 24·   Q· · · ·Is that how you felt, that it wouldn't do
25·   A· · · ·I was like, no, he didn't just do that.         25·   any good to make a complaint about him?


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·1·   A· · · ·Yes.                                            ·1·   A· · · ·Your supervisor or team members or job
·2·   Q· · · ·And why was that?                               ·2·   performance.· Just different stuff.
·3·   A· · · ·I was afraid of losing my job.                  ·3·   Q· · · ·Okay.· But you didn't feel comfortable
·4·   Q· · · ·Have you ever done some kind of survey out      ·4·   talking about the way Mr. Whited hit people or
·5·   at the fulfillment center?                              ·5·   kicked people in one of those surveys?
·6·   A· · · ·Survey?· What do you mean?                      ·6·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·7·   Q· · · ·I don't know.· An employee survey of any        ·7·   · · · · · · ·THE WITNESS:· I didn't really see a
·8·   kind?                                                   ·8·   place in there.
·9·   A· · · ·We've done them at the plant.· They would       ·9·   BY MS. COLLINS:
10·   give out these books.· You do a survey for, I guess,    10·   Q· · · ·Okay.· Do you think it would have helped
11·   both facilities.                                        11·   things with respect to Mr. Whited's behavior if
12·   Q· · · ·Okay.· Would you just get one of those at       12·   there would have been an HR person that was --
13·   the main plant or had you ever received one at the      13·   · · · · · · ·MS. DOHNER SMITH:· Objection.
14·   fulfillment center?                                     14·   BY MS. COLLINS:
15·   A· · · ·Well, it was for both plants.                   15·   Q· · · ·-- available out at the plants?
16·   Q· · · ·Okay.· Was that mandatory?                      16·   A· · · ·I don't really know what you're asking.
17·   A· · · ·Supposedly, yes.                                17·   Q· · · ·Okay.· That's fine.
18·   Q· · · ·Okay.· Did you fill those out?                  18·   · · · · Did you ever complain to Helen about
19·   A· · · ·Yes.                                            19·   Mr. Whited?
20·   Q· · · ·Did you know where they went, where those       20·   A· · · ·No.
21·   surveys went?                                           21·   Q· · · ·Why not?
22·   A· · · ·I just know they -- I guess went to             22·   A· · · ·I just -- the less you say, the better off
23·   corporate, I guess.                                     23·   you are.
24·   Q· · · ·Did anybody come out and give you               24·   Q· · · ·The less you say, the better off you are?
25·   instructions on the surveys or anything like that?      25·   A· · · ·Uh-huh.
                                                    Page 23                                                       Page 25
·1·   How did that come out?                                  ·1·   Q· · · ·Did it seem like a lot of other people felt
·2·   A· · · ·I mean, they just give us -- you know,          ·2·   the same way?
·3·   here's a survey, fill it out to the best of my          ·3·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·4·   knowledge, how you feel, date it, and then turn them    ·4·   · · · · · · ·THE WITNESS:· (Witness moves head up
·5·   in.                                                     ·5·   and down.)
·6·   Q· · · ·Who would tell you about that, these            ·6·   BY MS. COLLINS:
·7·   surveys?                                                ·7·   Q· · · ·Is that a yes?
·8·   A· · · ·I mean, they would have a company meeting.      ·8·   A· · · ·Yes.
·9·   Q· · · ·Who would have the company meeting?             ·9·   Q· · · ·Were you ever present on an occasion where
10·   A· · · ·Oh, Lord.· I guess most of the time it would    10·   Mr. Kulakowski was hit or kicked and Larry Eden
11·   be Larry or somebody like that.                         11·   witnessed it?
12·   Q· · · ·Okay.                                           12·   A· · · ·No.
13·   A· · · ·Upper management.                               13·   Q· · · ·Did Larry Eden ever witness you getting hit
14·   Q· · · ·Did anybody ever tell you that Mr. Whited       14·   or kicked?
15·   would get the survey results?                           15·   A· · · ·I can't recall who was standing there when
16·   A· · · ·No.                                             16·   he hit me in the office that day.· I know there was
17·   Q· · · ·And did you fill those surveys out?             17·   a couple people there, but I can't remember who they
18·   A· · · ·Yes.                                            18·   were.
19·   Q· · · ·Did you ever complain about Mr. Whited's        19·   Q· · · ·Okay.· What about Mike White?· Do you
20·   behavior in one of those surveys?                       20·   remember if he was around?
21·   A· · · ·No.                                             21·   A· · · ·No.
22·   Q· · · ·Was there a place in one of those surveys       22·   Q· · · ·Did you get called in on the weekends
23·   where you could have brought that up?                   23·   sometimes, weekends or nights, and be expected to
24·   A· · · ·No.                                             24·   work and not be paid for it?
25·   Q· · · ·What were the surveys mostly about?             25·   A· · · ·No.


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·1·   Q· · · ·Okay.· Did you complain about that at some      ·1·   A· · · ·Just regular reading glasses.
·2·   point in time or do you recall complaining about        ·2·   Q· · · ·I've already had to loan them to one other
·3·   that?                                                   ·3·   witness.· It's fine.
·4·   A· · · ·Me?                                             ·4·   · · · · If you could turn -- down at the bottom of
·5·   Q· · · ·Yes.                                            ·5·   the page, it's got numbers.· If you could turn to
·6·   A· · · ·No.                                             ·6·   the one that says WestRock 211 down at the bottom.
·7·   Q· · · ·Are you still in touch with Tommy Whited?       ·7·   A· · · ·(Witness complies.)
·8·   A· · · ·No.                                             ·8·   Q· · · ·And about midway down, it has your name
·9·   Q· · · ·Did you buy any cars or anything from him?      ·9·   under a line.
10·   A· · · ·No, I have not.                                 10·   A· · · ·Uh-huh.
11·   Q· · · ·Okay.· Do you recall a situation where          11·   Q· · · ·If you could just read that section under
12·   Mr. Whited said you weren't going to get out of         12·   your name, and it goes into the next page, let me
13·   shipping unless he fired you?                           13·   know when you're done reading it.· Just read to
14·   A· · · ·Me?                                             14·   yourself.
15·   Q· · · ·Yes.                                            15·   A· · · ·Read what now?
16·   A· · · ·Yeah, he's told me that before.                 16·   Q· · · ·Just read what's under your name, just read
17·   Q· · · ·How did he tell you that?· Or what was the      17·   that.· And it goes a little bit into the next page.
18·   context of the situation?                               18·   Then when you're done reading it, just let me know
19·   A· · · ·Well, it was basically, once you become a       19·   when you're finished.· I'm going to ask you some
20·   manager, your next step is out the door.                20·   questions about those notes.
21·   Q· · · ·What do you mean by that?                       21·   A· · · ·(Reviewing document.)
22·   A· · · ·I mean, that's just what we've heard him say    22·   · · · · The whole rest of the page under Larry?
23·   in the past.· And what's happened over the past with    23·   Q· · · ·Oh, no.· Just the top part that was for you.
24·   some other people, when they go up in the office,       24·   · · · · Does this look generally like what you told
25·   then their next step would be out the door.             25·   Ms. Henley when she came out to the plant?
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·1·   Q· · · ·What do you mean, go up in the office?          ·1·   A· · · ·Yes.
·2·   A· · · ·Like move up from the floor to the office.      ·2·   Q· · · ·Where did you meet with her?
·3·   Q· · · ·Okay.· So people that would get a manager       ·3·   A· · · ·At the conference room.
·4·   position, they would --                                 ·4·   Q· · · ·At the main plant?
·5·   A· · · ·A lot of times their next step was out the      ·5·   A· · · ·Yes, ma'am.
·6·   door.                                                   ·6·   Q· · · ·Who all did you meet with besides
·7·   Q· · · ·Getting fired?                                  ·7·   Ms. Henley?
·8·   A· · · ·Yeah.                                           ·8·   A· · · ·Just her.
·9·   Q· · · ·By Mr. Whited?                                  ·9·   Q· · · ·Okay.· Was she taking notes during that
10·   A· · · ·Yes.                                            10·   meeting?
11·   Q· · · ·Was he hard to work for?                        11·   A· · · ·Yes.
12·   A· · · ·At times.                                       12·   Q· · · ·Was she typing or handwriting notes?
13·   Q· · · ·Did you hear him yell or cuss at employees?     13·   A· · · ·You know, I don't remember.
14·   A· · · ·Yes.                                            14·   Q· · · ·Okay.· And it looks like you told her that
15·   Q· · · ·Do you recall talking with Terri Henley         15·   you didn't report it because you thought if you had
16·   about the way Mr. Whited treated people in the          16·   turned it in, you would lose your job.
17·   workplace?                                              17·   · · · · Do you still feel that way?
18·   A· · · ·I can't recall what all we went over.           18·   A· · · ·About?
19·   Q· · · ·If you could, in this binder right here, if     19·   Q· · · ·If you would have reported Mr. Whited, you
20·   you would turn to Exhibit Number 27.                    20·   would have lost your job?
21·   · · · · · · ·(Presented Exhibit No. 27.)                21·   A· · · ·Yeah.
22·   · · · · · · ·THE WITNESS:· I wish you'd have told       22·   Q· · · ·She also has in her notes that Tommy has
23·   me.· I didn't bring my glasses.                         23·   control over everyone, he makes you feel stupid.
24·   BY MS. COLLINS:                                         24·   · · · · Is that how you felt about Mr. Whited?
25·   Q· · · ·Do you need to borrow these?                    25·   A· · · ·He could make you feel that way.


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·1·   Q· · · ·And a little bit further down, it says,         ·1·   anything like that, or has he become more reclusive?
·2·   "Told Larry to tell Jerry, my next step is out the      ·2·   A· · · ·No, he don't -- I mean, no, he don't do as
·3·   door.· He bullies and is intimidating."                 ·3·   much as he used to.
·4·   · · · · Had you reported the problems you were          ·4·   Q· · · ·Does he seem like he's more paranoid?
·5·   having with Mr. Whited to Larry Eden?                   ·5·   A· · · ·Yeah, I guess.· I mean, I don't know. I
·6·   A· · · ·Like what problems?                             ·6·   hadn't really, you know, been around him here
·7·   Q· · · ·The hitting.                                    ·7·   lately.
·8·   A· · · ·Oh, no.                                         ·8·   Q· · · ·Okay.· Did he complain a lot about
·9·   Q· · · ·What does -- do you recall what that means,     ·9·   Mr. Whited and the way Mr. Whited treated him?
10·   "Told Larry to tell Jerry my next step is out the       10·   A· · · ·Yeah, he did.
11·   door.· He bullies and is intimidating"?                 11·   Q· · · ·Do you have any concerns about testifying
12·   A· · · ·That was over the -- I guess pretty much        12·   here today?
13·   doing the shipping job or he wouldn't have anything     13·   A· · · ·No.
14·   else for me.                                            14·   · · · · · · ·MS. DOHNER SMITH:· Objection.
15·   Q· · · ·Okay.· You didn't want to be the shipping       15·   BY MS. COLLINS:
16·   supervisor?                                             16·   Q· · · ·Do you believe Tommy Whited is capable of
17·   A· · · ·Not at the time, no.                            17·   hurting someone?
18·   Q· · · ·And she also has in her notes that you had      18·   · · · · · · ·MS. DOHNER SMITH:· Objection.
19·   told her, "Gradually getting worse.· Maybe because      19·   · · · · · · ·THE WITNESS:· No.
20·   he is getting older.· Why do you think you would        20·   BY MS. COLLINS:
21·   lose your job?· What goes wrong way.· When you wake     21·   Q· · · ·Did anyone tell you why Mr. Whited was
22·   up not wanting to come to work every day, it is         22·   terminated?
23·   bad."                                                   23·   A· · · ·No.
24·   · · · · Is that how you felt when Mr. Whited was the    24·   Q· · · ·Did you hear anything if he was terminated
25·   general manager?                                        25·   or if he resigned?
                                                    Page 31                                                       Page 33
·1·   A· · · ·Yes, ma'am.                                     ·1·   A· · · ·I heard he resigned.
·2·   Q· · · ·Has it gotten better since he's left?           ·2·   Q· · · ·That he resigned?
·3·   A· · · ·Yes.                                            ·3·   A· · · ·Uh-huh.
·4·   Q· · · ·On the next page, there's also a note that      ·4·   Q· · · ·Who did you hear that from?
·5·   hourly employees are being called in all hours of       ·5·   A· · · ·I mean, just gossip.
·6·   the night and weekend, making them to work but not      ·6·   · · · · · · ·MS. COLLINS:· All right.· That's all I
·7·   paid.                                                   ·7·   have.
·8·   · · · · Do you recall telling Ms. Henley about that?    ·8·   · · · · · · · · E X A M I N A T I O N
·9·   A· · · ·I don't remember telling her that, but I may    ·9·   BY MS. DOHNER SMITH:
10·   have.· I don't know why I would.                        10·   Q· · · ·Earlier you testified that Mr. Whited had
11·   Q· · · ·Has that happened to you?                       11·   hit you in the groin or on the shoulder.· He never
12·   A· · · ·No.                                             12·   kicked you in the groin, correct?
13·   Q· · · ·Have other employees complained about that?     13·   A· · · ·No, ma'am.
14·   A· · · ·Not that I know of.· I mean, what went on       14·   Q· · · ·And you had told Ms. Henley that that
15·   with Kuli in fulfillment, I don't have a clue of        15·   happened over the years probably three times.· Is
16·   their time.                                             16·   that accurate?
17·   Q· · · ·Okay.                                           17·   A· · · ·What?· Hitting me?
18·   A· · · ·That's something we don't discuss.              18·   Q· · · ·Yes.
19·   Q· · · ·Are you friends with Mr. Kulakowski?            19·   A· · · ·Yes.
20·   A· · · ·I am.                                           20·   Q· · · ·What do you mean by over the years?
21·   Q· · · ·Have you noticed a change in his behavior in    21·   A· · · ·In the last three or four years, five years,
22·   the past couple of years?                               22·   something like that.
23·   A· · · ·In what way?                                    23·   Q· · · ·All right.· You said that you had heard
24·   Q· · · ·Well, does he like to go out and be around      24·   Tommy threaten Mr. Kulakowski's job, that if he
25·   people as much, whether it's fishing or hunting or      25·   didn't straighten up, I'll fire your ass.· What was


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·1·   he referring to?· Had Mr. Kulakowski done something     ·1·   is out the door, when you took on shipping, your
·2·   wrong or made a mistake on the job?                     ·2·   next step was out the door.
·3·   A· · · ·A lot of it is just he wouldn't -- hadn't       ·3·   · · · · That was in relation to you getting the
·4·   done it his way or how he thought it should have        ·4·   shipping supervisor position and you didn't want it
·5·   been handled.                                           ·5·   and Tommy didn't have anything else for you?· Is
·6·   Q· · · ·Okay.· So that was in reference to how          ·6·   that what you --
·7·   Mr. Kulakowski was performing his job?                  ·7·   A· · · ·No, no, that's not what I meant.
·8·   · · · · · · ·MS. COLLINS:· Objection to form.           ·8·   Q· · · ·Okay.· What did you mean?
·9·   BY MS. DOHNER SMITH:                                    ·9·   A· · · ·Over the years past, by other people,
10·   Q· · · ·The threats to fire?· Tommy didn't like the     10·   usually when they would go to the office, usually
11·   way Mr. Kulakowski was doing his job, or wasn't         11·   their next step would be out the door.
12·   doing it Tommy's way?                                   12·   Q· · · ·Who?
13·   · · · · · · ·MS. COLLINS:· Objection to form.           13·   A· · · ·Just people that's worked there before.
14·   · · · · · · ·THE WITNESS:· Yeah, I mean, just -- I      14·   Q· · · ·Were they fired or did they quit?
15·   really don't know how to put it.· It would probably     15·   A· · · ·Some quit and some just, you know, didn't
16·   be half and half.· Just aggravation and just doing      16·   have nothing for them to do.
17·   his job, too.· Just to be a smart aleck.                17·   Q· · · ·Okay.· So you're not saying that Tommy
18·   BY MS. DOHNER SMITH:                                    18·   promoted people so he could fire them?
19·   Q· · · ·Do you know what Helen Kendall's actual job     19·   A· · · ·No.
20·   title was?                                              20·   Q· · · ·You testified that Tommy would yell and cuss
21·   A· · · ·No, not really.                                 21·   at employees.· That's something he did in front of
22·   Q· · · ·Okay.· You said that you saw Mr. Whited grab    22·   all of the employees, correct?
23·   his zipper and say something along the lines of suck    23·   A· · · ·I mean, he done it in front of people, yeah.
24·   my dick.                                                24·   Q· · · ·Okay.· And there would be female employees
25·   A· · · ·Uh-huh.                                         25·   around when he would yell and cuss?
                                                    Page 35                                                       Page 37
·1·   Q· · · ·When was that?                                  ·1·   A· · · ·I don't know so much about that.
·2·   A· · · ·Oh, I don't recall the date or time or          ·2·   Q· · · ·Okay.· There are females on the floor
·3·   anything.                                               ·3·   working, right?
·4·   Q· · · ·How long before Mr. Whited was terminated?      ·4·   A· · · ·Yes.
·5·   A· · · ·I really don't know, to be honest with you.     ·5·   Q· · · ·And he would yell and cuss on the floor?
·6·   Q· · · ·Did you only see that one time?                 ·6·   · · · · · · ·MS. COLLINS:· Objection to form.
·7·   A· · · ·Yes, ma'am.                                     ·7·   · · · · · · ·THE WITNESS:· Yes, he has.
·8·   Q· · · ·Earlier you said you didn't think it would      ·8·   BY MS. DOHNER SMITH:
·9·   do any good to complain about Tommy.· Somebody made     ·9·   Q· · · ·Okay.· If Tommy Whited was terminated after
10·   a complaint about Tommy, correct?                       10·   this investigation, why do you still feel that if
11·   · · · · · · ·MS. COLLINS:· Objection to form.           11·   you had reported him you would have lost your job?
12·   · · · · · · ·THE WITNESS:· If he did, I don't know.     12·   · · · · · · ·MS. COLLINS:· Objection to form.
13·   BY MS. DOHNER SMITH:                                    13·   · · · · · · ·THE WITNESS:· You're talking about now?
14·   Q· · · ·The company came in to do an investigation      14·   BY MS. DOHNER SMITH:
15·   into Tommy, correct?                                    15·   Q· · · ·Yes.
16·   A· · · ·Yes.                                            16·   A· · · ·I don't feel that way now.
17·   Q· · · ·And shortly after the investigation, Tommy      17·   Q· · · ·Oh, okay.
18·   was no longer employed at WestRock, correct?            18·   A· · · ·He's no longer there.
19·   A· · · ·Yes.                                            19·   Q· · · ·Okay.· So sitting here today, you think if
20·   Q· · · ·Do you have any knowledge of anybody making     20·   you had reported him in the past, you wouldn't have
21·   a complaint about Tommy and then actually being         21·   been fired?
22·   terminated by him?                                      22·   · · · · · · ·MS. COLLINS:· Objection to form.
23·   A· · · ·No.                                             23·   · · · · · · ·THE WITNESS:· I don't really know what
24·   Q· · · ·Okay.· I just want to clarify your testimony    24·   would have happened, to be honest.
25·   regarding when you become a manager your next step      25


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·1·   BY MS. DOHNER SMITH:                                    ·1· · · · · · · · ·REPORTER'S CERTIFICATE

·2·   Q· · · ·Okay.                                           ·2

·3·   A· · · ·I was just scared to say anything because       ·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
                                                              ·4· Public and Court Reporter, do hereby certify that I
·4·   wasn't...
                                                              ·5· recorded to the best of my skill and ability by
·5·   Q· · · ·You said that Mr. Kulakowski doesn't do as
                                                              ·6· machine shorthand all the proceedings in the
·6·   much as he used to.· Did that start when he started
                                                              ·7· foregoing transcript, and that said transcript is a
·7·   having back problems?
                                                              ·8· true, accurate, and complete transcript to the best
·8·   · · · · · · ·MS. COLLINS:· Objection to form.
                                                              ·9· of my ability.
·9·   BY MS. DOHNER SMITH:
                                                              10· · · · · · · ·I further certify that I am not an
10·   Q· · · ·He hurt his back a few years ago?
                                                              11· attorney or counsel of any of the parties, nor a
11·   A· · · ·Yeah, for a little while.· And then, you
                                                              12· relative or employee of any attorney or counsel
12·   know, it got better, and he seemed like he was his      13· connected with the action, nor financially
13·   old self.· But now I guess he's hurting again. I        14· interested in the action.
14·   don't really know.· Like I said, I hadn't talked to     15· · · · · · · ·SIGNED this 28th day of November, 2017.
15·   him in a month-and-a-half.                              16
16·   Q· · · ·Okay.                                           17
17·   A· · · ·Well, worked with him for a                     18
18·   month-and-a-half.                                       19
19·   Q· · · ·You were asked if Mr. Kulakowski seemed more    20· · · · · · · ·____________________________________
20·   paranoid.· You said, I guess, but not around him.       21· · · · · · · · · · Jerri L. Porter, RPR, CRR
21·   Have you witnessed him doing anything that you would    22· My Notary commission expires:· 2/19/2018
22·   consider he's paranoid?                                 23· Tennessee LCR No. 335
23·   A· · · ·He's just a nervous guy.· I mean, he's real     · · Expires:· 6/30/2018
24·   nervous.· But the least little thing upsets him.        24

25·   Q· · · ·Has he always been that way, a nervous guy?     25

                                                    Page 39                                                           Page 41
·1·   A· · · ·Not as bad when he first started.· But the      ·1· · · · · · · · · · · ·E R R A T A
                                                              ·2
·2·   longer he stayed, the worse it got.
                                                              ·3· · · ·I, JERRY WAYNE HARVILLE, having read the
·3·   Q· · · ·Okay.· Did Mr. Kulakowski ever tell you that
                                                              · · foregoing deposition, Pages 1 through 39, taken
·4·   he had made a complaint to anybody in HR, the
                                                              ·4· November 16, 2017, do hereby certify said
·5·   corporate office, about Mr. Whited?                     · · testimony is a true and accurate transcript,
·6·   A· · · ·No.                                             ·5· with the following changes, if any:
·7·   · · · · · · ·MS. DOHNER SMITH:· I think that's it.      ·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·8·   · · · · · · ·MS. COLLINS:· I'm done.                    ·7· _____· ·_____· · ·______________________________
·9·   · · · · · · ·FURTHER DEPONENT SAITH NOT.                ·8· _____· ·_____· · ·______________________________

10·   · · · · · · ·(Proceedings concluded at 1:15 p.m.)       ·9· _____· ·_____· · ·______________________________
                                                              10· _____· ·_____· · ·______________________________
11
                                                              11· _____· ·_____· · ·______________________________
12
                                                              12· _____· ·_____· · ·______________________________
13                                                            13· _____· ·_____· · ·______________________________
14                                                            14· _____· ·_____· · ·______________________________
15                                                            15· _____· ·_____· · ·______________________________
16                                                            16· _____· ·_____· · ·______________________________
17                                                            17
18                                                            18· · · · · · ·______________________________
                                                              19· · · · · · · · · JERRY WAYNE HARVILLE
19
                                                              20
20
                                                              21
21                                                            22· ____________________________
22                                                            · · · · · Notary Public
23                                                            23· My commission expires:· _____________
24                                                            24
25                                                            25



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